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 6   Attorneys for Defendant,
     STEVE CHARLES GOLDSTEIN
 7
 8                       UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10
11   P.I.C. INTERNATIONAL, INC., d.b.a.         Case No. 3:19-cv-00734-BEN-LL
     H2Odyssey, a California corporation,
12
                       Plaintiff,               DEFENDANT STEVE CHARLES
13         v.                                   GOLDSTEIN’S FIRST AMENDED
14                                              ANSWER TO THE COMPLAINT
     GOOPER HERMETIC, LTD., an
15   Israeli limited company; and Steve         DEMAND FOR JURY TRIAL
16   Charles Goldstein, an individual
     residing in California; and DOES 1- 10,
17   inclusive,
18
                       Defendants.
19
20   GOOPER HERMETIC, LTD., an
     Israeli limited company,
21
22                     Counterclaimant,

23         v.
24   P.I.C. INTERNATIONAL, INC., d.b.a.
     H2Odyssey, a California corporation,
25
26
                       Counter-defendant.

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28

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 1          Pursuant to Rule 12, 15 and 38 of the Federal Rules of Civil Procedure,
 2   defendant Steve Charles Goldstein hereby answers the complaint of plaintiff P.I.C.
 3   International., d.b.a., H2Odyssey (hereinafter “H2Odyssey”) and demands a jury trial
 4   as follows:
 5                                    NATURE OF ACTION
 6          1.     Defendant admits the complaint purports to bring a claim for
 7   declaratory judgment. Defendant denies plaintiff is entitled to any relief. Defendant
 8   further admits U.S. Patent No. 9,966,174 is attached to the complaint as Exhibit 1.
 9          2.     Defendant admits the complaint purports to bring claims of false patent
10   marking and false advertising. Defendant denies plaintiff is entitled to any relief.
11                                          PARTIES
12          3.     Defendant lacks sufficient knowledge and information to respond to
13   the truth or the falsity of the allegation in paragraph 3 of the complaint and on that
14   basis denies said allegations.
15          4.     Admit.
16          5.     Defendant admits that Goldstein is an individual that resides in
17   Escondido, California and that Gator Dry Bags is not registered as a business with
18   the California Secretary of State, nor as a fictitious business name with San Diego
19   County. Defendant denies the remaining allegations in paragraph 5 of the
20   complaint.
21          6.     Defendant admits that Goldstein is doing business with Gooper
22   Hermetic as its sales representative, that Goldstein solicits business in this district on
23   behalf of Gooper Hermetic including the distribution and sales of Gooper Hermetic
24   and Gator magnetic dry bags, and that Gooper has charged Goldstein with finding a
25   North American distributor for Gooper’s magnetic dry bags. Defendant denies the
26   remaining allegations in paragraph 6.
27          7.     Defendant lacks sufficient knowledge and information to respond to
28   the truth or the falsity of the allegation in paragraph 7 of the complaint and on that
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 1   basis denies said allegations.
 2                             JURISDICTION AND VENUE
 3         8.     Defendant admits the Court has subject matter jurisdiction over this
 4   action.
 5         9.     Denied.
 6         10.    Denied.
 7         11.    Defendant admits the Court has subject matter jurisdiction over this
 8   action.
 9         12.    Defendant admits the Court has personal jurisdiction over defendant.
10   Defendant denies the remaining allegations of paragraph 12 of the complaint.
11         13.    Defendant lacks sufficient knowledge and information to respond to
12   the truth or the falsity of the allegation in paragraph 13 of the complaint and on that
13   basis denies said allegations.
14         14.    Defendant admits venue is proper. Defendant denies the remaining
15   allegations of paragraph 14 of the complaint.
16                              GENERAL ALLEGATIONS
17         15.    Defendant lacks sufficient knowledge and information to respond to
18   the truth or the falsity of the allegation in paragraph 15 of the complaint and on that
19   basis deny said allegations.
20         16.    Denied.
21         17.    Defendant lacks sufficient knowledge and information to respond to
22   the truth or the falsity of the allegation in paragraph 17 of the complaint and on that
23   basis deny said allegations.
24         18.    Defendant lacks sufficient knowledge and information to respond to
25   the truth or the falsity of the allegation in paragraph 18 of the complaint and on that
26   basis deny said allegations.
27         19.    Denied.
28         20.    Denied.
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 1          21.    Denied.
 2          22.    Denied.
 3          23.    Admit.
 4          24.    Denied.
 5          25.    Denied.
 6          26.    Denied.
 7          27.    Admit.
 8          28.    Denied.
 9          29.    Denied.
10          30.    Denied.
11          31.    Denied.
12          32.    Defendant admits claim 1 is the only independent claim of the Patent-
13   in-Suit and that it appears in paragraph 32 of the complaint.
14          33.    Defendant states that the prosecution file history of the Patent-in-Suit
15   speaks for itself.
16          34.    Defendant states that the prosecution file history of the Patent-in-Suit
17   speaks for itself.
18          35.    Denied.
19          36.    Denied.
20          37.    Denied.
21          38.    Denied.
22          39.    Denied.
23          40.    Denied.
24          41.    Denied.
25          42.    Denied.
26          43.    Denied.
27          44.    Denied.
28          45.    Denied.
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 1         46.    Denied.
 2         47.    Defendant admits that its dry bags are named the Key, Classic and
 3   Multi. Defendant denies the remaining allegations in paragraph 47 of the complaint.
 4         48.    Denied.
 5         49.    Denied.
 6         50.    Defendant admits that its dry bags are patented. Defendant denies
 7   the remaining allegations in paragraph 50 of the complaint.
 8         51.    Denied.
 9         52.    Defendant lacks sufficient knowledge and information to respond to
10   the truth or the falsity of the allegation in paragraph 52 of the complaint and on that
11   basis deny said allegations.
12         53.    Denied.
13         54.    Denied.
14         55.    Denied.
15         56.    Denied.
16         57.    Denied.
17         58.    Denied.
18         59.    Denied.
19                               FIRST CLAIM OF RELIEF
20         60.    Defendant repeats, realleges, and incorporates by reference the
21   preceding allegations above as though set forth fully herein.
22         61.    Admit.
23         62.    Admit.
24         63.    Denied.
25         64.    Denied.
26         65.    Denied.
27         66.    Denied.
28         67.    Denied.
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 1         68.    Denied.
 2                            SECOND CLAIM OF RELIEF
 3         69.    Defendant repeats, realleges, and incorporates by reference the
 4   preceding allegations above as though set forth fully herein.
 5         70.    Denied.
 6         71.    Denied.
 7         72.    Denied.
 8         73.    Denied.
 9         74.    Denied.
10         75.    Denied.
11         76.    Denied.
12         77.    Denied.
13                               THIRD CLAIM OF RELIEF
14         78.    Defendant repeats, realleges, and incorporates by reference the
15   preceding allegations above as though set forth fully herein.
16         79.    Denied.
17         80.    Denied.
18         81.    Denied.
19         82.    Denied.
20         83.    Denied.
21         84.    Denied.
22
23                               AFFIRMATIVE DEFENSES
24                   First Affirmative Defense: Estoppel and Laches
25         The purported claims alleged in the complaint are barred, in whole or in
26   part, because H2Odyssey, by its acts, omissions and delay, failed to take action
27   within a reasonable time.
28

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 1
 2                  Second Affirmative Defense: Waiver and Acquiescence
 3          The purported claims alleged in the complaint are barred, in whole or in
 4   part, because plaintiff, by its acts, omissions and delay, and those of its agents,
 5   waived or acquiesced to any claims or causes of action against defendant.
 6                 Third Affirmative Defense: Failure to Mitigate Damages
 7          The purported claims alleged in the complaint are barred, in whole or in
 8   part, because plaintiff failed to mitigate its damages.
 9                       Fourth Affirmative Defense: Lack of Damages
10          The purported claims alleged in the complaint are barred, in whole or in
11   part, due to plaintiff’s lack of damages.
12                    Fifth Affirmative Defense: Lack of Proximate Cause
13          The purported claims alleged in the complaint are barred, in whole or in
14   part, because defendant was not a proximate cause to plaintiff’s damages, if any.
15
16                              Reservation of Additional Defenses
17          Defendant reserves all affirmative defenses available under Rule 8(c) and
18   Rule 12 of the Federal Rules of Civil Procedure, and any other defenses, at law or in
19   equity, that may be available now or may become available in the future based on
20   discovery or any other factual investigation in this case, or that may be asserted by
21   plaintiff.
22                                   PRAYER FOR RELIEF
23          WHEREFORE, defendant requests entry of judgment in his favor and against
24   plaintiff as follows:
25                a. Denying all relief sought by plaintiff;
26                b. Declaring the action to be exceptional and awarding defendant its
27                   attorneys’ fees pursuant to 15 U.S.C. § 1117, 35 U.S.C. § 285 or any
28                   other related law; and,
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 1            c. Such other and relief as the Court deems just and appropriate.
 2
 3                                   Respectfully submitted,
 4   Date: June 19, 2019
 5                                   MANDOUR & ASSOCIATES, APC
 6
 7                                         /s Ben T. Lila
 8                                   Ben T. Lila (SBN 246808)
                                     Email: blila@mandourlaw.com
 9                                   Attorneys for Defendant,
10                                   STEVE CHARLES GOLDSTEIN
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 1                             DEMAND FOR JURY TRIAL
 2         Defendant hereby demands a trial by the jury on all claims herein and all
 3   issues and claims so triable in this action.
 4
 5                                     Respectfully submitted,
 6   Date: June 19, 2019
 7                                     MANDOUR & ASSOCIATES, APC
 8
 9                                           /s Ben T. Lila
10                                     Ben T. Lila (SBN 246808)
                                       Email: blila@mandourlaw.com
11                                     Attorneys for Defendant,
12                                     STEVE CHARLES GOLDSTEIN
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 1                            CERTIFICATE OF SERVICE
 2         I hereby certify that on the below date, I filed the foregoing document with
 3   the Court’s CM/ECF filing system that will provide notice of the same on the
 4   parties and counsel of record in the case.
 5
 6   Dated: June 19, 2019
 7                                          /s Ben T. Lila
                                      Ben T. Lila (SBN 246808)
 8                                    Email: blila@mandourlaw.com
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